          Case 09-12537-1-rel                Doc 1         Filed 07/08/09 Entered 07/08/09 15:58:25                              Desc Main
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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF NEW YORK                                                 VOLUNTARY PETITION
DEBTOR:. Michael W. DeLong                                                     JOINT DEBTOR: N/A
                                                                                  (spouse)
ALL OTHER NAMES: NA                                                                   N/A

LAST FOUR DIGITS OF SOC. SEC./TAX I.D.NO.: xxx-xx-0882                                   N/A

STREET ADDRESS: 70 Bath St., Apt. 19, Ballston Spa, NY 12020                             N/A

COUNTY OF RESIDENCE: Saratoga                                                            N/A

MAILING ADDRESS:              Same                                                       N/A

Location of Principal Assets of Business Debtor (if different from address listed above)

     Type of Debtor (Check one box)                     Chapter of Bankruptcy Code Under Which
[X] Individual                                                   the Petition is Filed
[ ] Corporation (includes LLC and LLP)                                [X] Chapter 7           [ ] Chapter 15 Petition recognition of foreign
[ ] Partnership                                                       [ ] Chapter 9               Main Proceeding
[ ] Other                                                             [ ] Chapter 11          [ ] Chapter 15 Petition for recognition of
       Nature of Debt                                                 [ ] chapter 12                foreign Nonmain proceeding
[X] Consumer/Non-Business [ ] Business                                [ ] chapter 13
                                                                                 Filing Fee
                                                                      [ ] Full Filing Fee attached.
           Tax-Exempt Entity                                          [X] Filing Fee to be paid in installments. Application per Rule 1006(b)
       (check box, if applicable)                                         with official Form No. 3 attached.
    [ ] Debtor is a tax-exempt organization under Title 26    [ ] Filing fee waiver requested. Application and official Form 3B
      of the United States Code (the Internal Revenue Code)          attached.
_________________________________________________________________________________________
Nature of Business                                                            Chapter 11 Debtors
[ ] Health Care Business                                                      [ ] Debtor is a small business as defined in 11 U.S.C. § 101(51D)
[ ] Railroad                                                                  [ ] Debtor is not a small business as defined in 11 U.S.C.§ 101 (51D)
[ ] Stockbroker                                                                  ------------------------------------------------------------------------------
[ ] Clearing Bank                                                             [ ] Debtor’s aggregate noncontingent liquidated debts owed to
[ ] Other                                                                        non-insiders or affiliates are less than $2,190.00.

Statistical/Administrative Information (Estimates Only)
                                                                                                                                                THIS SPACE FOR


                                                                                                                                              COURT USE ONLY
[ ] Debtor estimates that funds will be available for distribution to unsecured creditors.
[X] Debtor estimates that, after any exempt property is excluded and administrative
    expenses paid, there will be no funds available for distribution to unsecured creditors.

Estimated Number of Creditors              1-49 50-99 100-199 200-999 1,000-5,000 5,001-10,000
                                            [X] [ ]     []    []       []            []
10,001-25,000        25,001-50,000        50,001-100,000 Over 100,000
[ ]                  [ ]                  [ ]              [ ]

Estimated Assets: $0 to            $50,001 to        $100,001 to    $500,001      $1,000,001             $10,000,0001 to
                        $50,000     $100,000         $500,000       to $1 million to $10 million         $50 million
                        [X]          []              []             []              []                          [ ]
 $50,000,001 to        $100,000001 to             $500,000,001 to           More than
$100 million           $500,000 million          $1 billion                 $1 billion
   []                   []                             []                      []

Estimated Liabilities:
 $0 to     $50,001 to $100,001 to          $500,001 to $ 1,000,001        $10,000.001 to              $100,000.001          $500,000.00 to
$50,000    $100,000 $500,000               $1 million  $10 million           to $100 million          to $500 million          $1 billion
   [ X]         []            []                []             []             [ ]                      []                      [ ]
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Voluntary Petition                                 Name of Debtor(s): Michael W. DeLong

                                                 Prior Bankruptcy Case Filed Within Last 8 Years
Location                                                   Case Number:                        Date Filed:
Where Filed:

                               Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor
Name of Debtor:                                                  Case Number:                            Date Filed:
District:                                                        Relationship:                          Judge:


                     Exhibit A                                                                                Exhibit B
(To be completed if debtor is required to file periodic reports (e.g., forms   I, the attorney for the petitioner named in the foregoing petition,
10K and 10Q) with the Securities and Exchange Commission pursuant to           declare that I have informed the petitioner that [he or she] may
Section 13 or 15 (d) of Securities Exchange Act of 1934 and is requesting      proceed under chapter 7, 11, 12, or 13 of title 11, United States
Relief under chapter 11.)                                                      Code, and have explained the relief available under each such
                                                                               chapter.
                                                                               I further certify that I delivered to the debtor the notice required
                                                                               by § 342 (b) of the Bankruptcy Code.
[ ] Exhibit A is attached and made a part of this petition.
                                                                               _/s/David F. DeVall_____________________ ____7/8/09_______
                                                                               Signature of Attorney for Debtor(s)        Date

                              Exhibit C                                                             EXHIBIT D
Does the debtor own or have possession of any property that poses or is        (To be completed by every individual debtor. If a joint petition is
alleged to pose a threat of imminent and identifiable harm to public health    filed, each spouse must complete and attach a separate Exhibit D)
or safety?                                                                     [X ] Exhibit D completed and signed by the debtors is attached and
                                                                                    make part of this petition.

[ ] Yes, and Exhibit C is attached and made a part of this petition.           If this is joint petition
[ X] No                                                                        [ ] Exhibit D also completed and signed by joint debtor is attached
                                                                               and made a part of this petition.


            Information Regarding the Debtor -Venue                              Certification by Debtor Who Resides as a Tenant of
                                                                                                Residential Property

[X ] Debtor has been domiciled or has had a residence, principal                [ ] Landlord has a judgment against the debtor for possession
     place or business, or principal assets in this District for 180                of debtor’s residence.
     days immediately preceding the date of this petition or for a
     longer part of such 180 days than in any other District.                            ______________________________________
                                                                                         (Name of landlord that obtained judgment)
[ ] There is a bankruptcy case concerning debtor’s affiliate,
    general partner, or partnership pending in this District.                            ______________________________________
                                                                                         (Address of landlord)
[ ] Debtor is a debtor in a foreign proceeding and has its principal
    place of business or principal assets in the United States in               [ ] Debtor claims that under applicable non-bankruptcy law,

     this District, or has no principal place of business or assets                  there are circumstances under which the debtor would be
     in the United States but is a defendant in an action or                         permitted to cure the entire monetary default that gave
     proceeding [in a federal or state court] in this District, or the               rise to the judgment for possession, after the judgment
     parties will be served in regard to the relief sought in this                   for possession was entered and
     District.

                                                                                [ ] Debtor has included in this petition the deposit with th

                                                                                     court of any rent that would become due during the
                                                                                     30-day period after the filing of the petition.
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_________________________________________________________________________________________________
Voluntary Petition                                        Name of Debtor(s): Michael W. DeLong
____________________________________________________________________________________________________

                                                                Signatures
____________________________________________________________________________________________________
Signature(s) of Debtor(s) (Individual/Joint)
I declare under penalty of perjury that the information provided in this petition is true and correct.[If petitioner is an individual whose
debts are primarily consumer debts and has chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12, or
13 of title 11, United States Code, understand that relief available under each such chapter, and choose to proceed under chapter 7.
[If no attorney represents me and no bankruptcy petition preparer signs the petition] I have obtained and read the notice required by §
342 (b) of the Bankruptcy Code.

I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

/s/Michel W. DeLong________________________
Signature of Debtor

/s/________________________________________
Signature of Joint Debtor

_7/8/09_____________________________________
Date

Signature of Attorney*

/s/David F. DeVall_____________________________
Signature of Attorney for Debtor(s)

David F. DeVall, Esq._______________________________________
Printed Name of Attorney for Debtor(s)

DeVall & DeVall___________________________________________
Firm Name

59 Franklin Street__________________________________________
Address

Saratoga Springs, NY 12866_________________________________

(518) 584-8521____________________________________________
Telephone Number

_7/8/09________________________________________________
Date

* In a case in which § 707(b)(4)(D) applies, this signature also constitutes a certification that the attorney has no knowledge after an
inquiry that the information in the schedules is correct.
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Voluntary Petition                                        Name of Debtor(s): Michael W. DeLong
____________________________________________________________________________________________________

Signature of Debtor (Corporation/Partnership)
____________________________________________________________________________________________________

I declare under penalty of perjury that the information provided in this petition is true and correct, and that I have been authorized to
file this petition on behalf of the debtor.

The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.

___________________________________________________________________
Signature of Authorized Individual

___________________________________________________________________
Printed Name of Authorized Individual

___________________________________________________________________
Title of Authorized Individual

___________________________________________________________________
Date
________________________________________________________________________________________________________
                                                 Signature of a Foreign Representative
I declare under penalty of perjury that the information provided in this petition is true and correct, that I am the foreign representative
of a debtor in a foreign proceeding, and that I am authorized to file this petition.

(check only one box)

[ ] I request relief in accordance with chapter 15 of title 11, United States Code. Certified copies of the documents required by 11
U.S.C. § 1515 are attached.

[ ] Pursuant to 11 U.S.C. § 1511, I request in accordance with the chapter 11 specified in this petition. A certified copy of the order
granting recognition of foreign main proceeding is attached.

X_________________________________________________________________
(Signature of Foreign Representative)

 __________________________________________________________________
(Printed Name of Foreign Representative)

__________________________________________________________________
Date
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In Re: Michael W. DeLong

                                         SCHEDULE A – REAL PROPERTY

Description and location of property                    Current market value of debtor’s interest in the
                                                        property without deducting any secured claim or
                                                        exemption.
Nature of debtor’s interest in property                 Amount of secured claim


NONE
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Conforms to Schedule B (12/07)   Document     Page 6 of 30
In Re: Michael W. DeLong

                                    SCHEDULE B – PERSONAL PROPERTY

Description and location of property                   Current market value in debtor’s interest in the
(All in debtor’s possession unless otherwise           property without deducting any secured claim
indicated)                                             or exemption

TYPE OF PROPERTY                                                                              DEBTOR’S INTEREST

1. Cash on hand:
                                                                                                      $ 50
2. Checking, savings, or other financial accounts, certificates of deposit, or shares in banks, savings and loan,

   thrift, building and loan, and homestead associations, or credit unions, brokerage houses or cooperatives.
   Checking and Savings Accounts First Niagara Bank Checking
                                                                                                     $66.25
3. Security deposits with public utilities, telephone companies, landlords, and others:
   NONE.
4. Household goods and furnishings, including audio, video and computer equipment:
   ORDINARY HOUSEHOLD GOODS                                                                          $ 1,000
5. Books, pictures, and other art objects, antiques, stamp, coin, record, tape, compact disc, and other collections

   or collectibles:
   NONE.
6. Wearing apparel:
   ORDINARY APPAREL                                                                             $ 500
7. Furs and jewelry:
   NONE.
8. Firearms and sports, photographic, and other hobby equipment:
   NONE.
9. Interests in insurance policies:
   NONE.
10. Annuities:
    NONE.
11. Interests in an education IRA as defined in 26 U.S.C. § 530(b)(1) or under
     a qualified State tuition plan as defined in 26 U.S.C. § 529(b)(1). Give
     particulars, (File Separately the record(s) of any such interest(s). 11 U.S.C.
     § 521(c); Rule 1007(b)).
12. Interests in IRA, ERISA, Keogh, or other pension or profit sharing plans:
    NONE.
13. Stock and interests in incorporated and unincorporated businesses:
    NONE.
14. Interests in partnerships or joint ventures:
    NONE.
15. Government and corporate bonds and other negotiable and non-negotiable instruments:
    NONE.
16. Accounts receivable:
    NONE.
17. Alimony, maintenance, support, and property settlements to which the debtor is or may be entitled:
    NONE.
18. Other liquidated debts owing debtor including tax refunds:
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19. Equitable or future interests, life estates, and rights or powers exercisable for the benefit of the debtor other

    than those listed in Schedule of Real Property:
    NONE.
20. Contingent and noncontingent interests in estate of a decedent, death benefit plan, life insurance policy, or
    trust:
    NONE.
21. Other contingent and unliquidated claims of every nature, including tax refunds, counterclaims of the
    debtor, and rights to setoff claims:
    NONE.
22. Patents, copyrights, and other intellectual property:
    NONE.
23. Licenses, franchises, and other general intangibles:
    NONE.
24. Customer lists or other complications containing personally identifiable
     information (as defined in 11 USC41(A) provided to the debtor by
     individuals in connection with obtaining a product or service from the debtor
     primarily for personal, family or household purposes.
     NONE.
25. Automobiles, trucks, trailers, and other vehicles or accessories:
    Description: 1999 Jeep Wrangler
                                                                                             $1,500
26. Boats, motors and accessories:
    NONE.
27. Aircraft and accessories:
    NONE.
28. Office equipment, furnishings and supplies:
    NONE.
29. Machinery, fixtures, equipment, and supplies used in business:
    NONE.
30. Inventory:
    NONE.
31. Animals:
    NONE.
32. Crops – growing or harvested:
    NONE.
33. Farming equipment and implements:
    NONE.
34. Farm supplies, chemicals and feed:
    NONE.
35. Other personal property of any kind not already listed:
    NONE.
                                                                            TOTAL:           $3,116.23
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In Re: Michael W. DeLong

                               SCHEDULE C – PROPERTY CLAIMED AS EXEMPT


Debtor claims the exemptions to which debtor is entitled under:        ____ Check if debtor claims
(Check one Box)                                                             a homestead exemption
____ 11 U.S.C. § 522 (b)(2)                                                 that exceeds $136,875.
__X 11 U.S.C. § 522(b)(3)

Description of property                                 Value of claimed exemption
Specify law providing each exemption                    Current market value of property without
                                                        deducting exemption


Account Balances and Tax Refunds, if any
Description:              cash, etc.
Law:                      D&C 283
Value of Exemption:       2,500
Market Value of Property: up to 2,500

Apparel
Law:                             CPLR 5205
Value of Exemption:              $500
Market Value of Property:        $500

Household Goods and Furnishings
Law:                      CPLR 5205
Value of Exemption:       $1000
Market Value of Property: $1000

Automobiles
Description:                     1999 Jeep Wrangler
Law:                             D&C 282(1)
Value of Exemption:              2,400
Market Value of Property:        1,500

Pension, etc.
Description:                     AFANG Pension
Law:                             D & C 282(2)
Value of Exemption:              full value
Market Value of Property:        unknown
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In Re: Michael W. DeLong

                     SCHEDULE D – CREDITORS HOLDING SECURED CLAIMS
[ X] Debtor has no creditors holding secured claims to report on this schedule.

Creditor’s name and complete mailing address,                  Amount of claim without deducting
including zip code and account number                                         value of collateral
Date claim was incurred, nature of lien, and description       Unsecured portion, if any
and market value of property subject to the lien

NONE
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In Re: Michael W. DeLong

SCHEDULE E – CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

[X] Debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS:

[ ] Domestic Support Obligations
Claims for domestic support that we are owed to or recoverable by a spouse, former spouse, or child of the
debtor, or the parent, legal guardian, or responsible relative of such a child, or governmental unit to whom such
a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

[ ]Extensions of credit in an involuntary case
Claims arising in the ordinary course of the debtor’s business or financial affairs after the commencement of the
case but for the earlier of the appointment of a trustee or the order for relief. 11U.S.C. § 507(a)(3).

[ ]Wages, Salaries and Commissions
Wages, salaries and commissions, including vacation, severance, and sick leave pay owing to employees, and
commissions owing to qualifying independent sales representatives up to $10,950* per person, earned within 90 days
immediately preceding the filing of the original petition, or the cessation of business, whichever occurred first, to the
extent provided in 11 U.S.C. §507(a)(4).

[ ]Contributions to Employee Benefit Plans
Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the
original petition, or the cessation of business, whichever occurred first to the extent provided in 11 U.S.C. §507(a)(5).

[ ]Certain Farmers or Fishermen
Claims of certain farmers or fishermen, up to a maximum of $5,400* per farmer or fisherman, against the debtor, as
provided in 11 U.S.C. §507(a)(6).

[ ]Deposits by Individuals
Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal,
family, or household use, that were not delivered or provided. 11 U.S.C. §507(a)(7).

[ ]Taxes and Certain Other Debts Owed to Governmental Units
Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C.
§507(a)(8).

[ ]Commitments to maintain the capital of an insured depository institution
Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the
Currency, or Board of Governors of the Federal Reserve System, or their predecessors or successors, to maintain the
capital of an insured depository institution. 11 U.S.C. §507(a)(9)

[ ]Claims for death or personal injury wihile debtor was intoxicated
Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was
intoxicated from using alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).

*Amounts are subject to adjustment on April 1, 2004, and every three years thereafter with respect to the cases
commenced on or after the date of adjustment.
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In Re: Michael W. DeLong
           SCHEDULE E – CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
[X] Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule E.



Creditor’s name and complete mailing address                            Amount entitled to priority
including zip code
Date claim was incurred and consideration for claim                     Total amount of claim

1.       Extensions of credit in an involuntary case.                   NONE

Account No.                         Amount of Claim:  $
                                    Amount Unsecured:


         Date Incurred:
         Nature of lien:
         Claim is:

         Contingent:                         [ ]
         Unliquidated                        [ ]
         Disputed:                           [ ]



2.       Wages, Salaries and Commissions.                      NONE

Account No.                         Amount of Claim:  $
                                    Amount Unsecured:


         Date Incurred:
         Nature of lien:
         Claim is:

         Contingent:                         [ ]
         Unliquidated                        [ ]
         Disputed:                           [ ]



3.       Contributions to Employee Benefit Plans.                       NONE

Account No.                         Amount of Claim:  $
                                    Amount Unsecured:


         Date Incurred:
         Nature of lien:
         Claim is:
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      Unliquidated                  [ ]
      Disputed:                     [ ]



4.    Certain Farmers or Fishermen.             NONE


Account No.                 Amount of Claim:  $
                            Amount Unsecured:


      Date Incurred:
      Nature of lien:
      Claim is:

      Contingent:                   [ ]
      Unliquidated                  [ ]
      Disputed:                     [ ]



5.    Deposits by Individuals.                  NONE

Account No.                 Amount of Claim:  $
                            Amount Unsecured:


      Date Incurred:
      Nature of lien:
      Claim is:

      Contingent:                   [ ]
      Unliquidated                  [ ]
      Disputed:                     [ ]


6.    Taxes and Certain Other Debtors Owed to Governmental Units.       NONE

Account No.                 Amount of Claim:  $
                            Amount Unsecured:


      Date Incurred:
      Nature of lien:
      Claim is:

      Contingent:                   [ ]
      Unliquidated                  [ ]
      Disputed:                     [ ]
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7.    Commitments to maintain the capital of an insured depository institution..   NONE


Account No.                 Amount of Claim:  $
                            Amount Unsecured:


      Date Incurred:
      Nature of lien:
      Claim is:

      Contingent:                   [ ]
      Unliquidated                  [ ]
      Disputed:                     [ ]



                                                   TOTAL:         $ -0-
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Re: Michael W. DeLong
        SCHEDULE F – CREDITORS HOLDING UNSECURED NON-PRIORITY CLAIMS

[ ] Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.

                                     H         DATE CLAIM
CREDITOR’S NAME AND                  W         WAS INCURRED                              C   CONTINGENT
MAILING ADDRESS                CO-   J         AND CONSIDERATION                         U   UNLIQUIDATED             AMOUNT
INCLUDING ZIP CODE            DEBTOR C         FOR CLAIM                                 D   DISPUTED                 OF CLAIM
AND ACCOUNT NUMBER                             If claim is subject to setoff, so state




      3475
Bank of America                                                      H            credit card                         305
PO Box 1519
Wilmington, DE 19886

       5842
Capital One                                                          H            credit card                         24,590
PO Box 105474
Atlanta, GA 30348

      5705
FIA Card Services                                                    H            credit card                         7,125
PO Box 15726
Wilmington, DE 19886



                                                                                                            TOTAL: $32,020
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In Re: Michael W. DeLong

__X_ Check this box if debtor has no executory contracts or unexpired leases

__X_ Check this box if debtor has no codebtors

                SCHEDULE G – EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Name and mailing address, including             Description of contract or lease and nature of debtor’s interest.
zip code, of other parties to lease or          State whether lease is for non-residential real property. State
contract.                                       contract number of any government contract.

NONE




                                         SCHEDULE H – CODEBTORS

Name and address of co-debtor                           Name and address of creditor

NONE.
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In Re: Michael W. DeLong

                    SCHEDULE I – CURRENT INCOME OF INDIVIDUAL DEBTOR(S)

Debtor’s marital status: divorced
Names and ages of debtor’s dependants and relationship:


EMPLOYMENT:                               DEBTOR                              SPOUSE
Occupation: Installer                                                         N/A
Employer: Lamar Outdoor Advertising
How long employed: 2 years
Address of employer: 2 Airport Park Blvd., Latham, NY


INCOME:
1.Monthly gross wages,
salary and commissions……………                             3,024

2.Estimated monthly overtime………

3.SUBTOTAL….……………………                                    3,024

4. LESS PAYROLL DEDUCTIONS
   a. Payroll taxes and social security                  775
   b. Insurance………………………                                  44
   c. Union dues…………………….
   d. Other………………………….
5. SUBTOTAL OF DEDUCTIONS:                                819

6.TOTAL NET MONTHLY TAKE HOME PAY:                       2,205

7.Regular income from operation of business or
profession or farm…………………

8.Income from real property…………

9.Interest and dividends……………...

10.Alimony, maintenance, or support payments
payable to the debtor for the debtor’s use or
that of dependants listed above…….

11.Social security or other government assistance

12.Pension or retirement income…
13.Other monthly income…AFANG Gross 493                         461
                              Less Taxes    32
14.SUB TOTAL OF LINES 7-13
15.AVERAGE MONTHLY INCOME (Lines 6 plus 14)
16.COMBINED AVERAGE MONTHLY INCOME…………………………………….                                              $2,666
17.Describe any increase or decrease in income reasonably anticipated to incur within the year
following the filing of this document: NO SUCH INCREASES OR DECEASES ANTICIPATED
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In Re: Michael W. DeLong

             SCHEDULE J – CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
[ ] Check the box if a joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of exemptions.

1.Rent/home mortgage payments                                                                                                        620
       a. Real Estate taxes included?                    YES [ ] NO [ ]
       b. Property Insurance included?                   YES [ ] NO [ ]

2.Utilities: a. Electricity and heating fuel                                                                                         250
             b. Water and sewer
             c. Telephone                                                                                                            100
             d. Other cable tv                                                                                                        60


3.Home maintenance                                                                                                                     75
4.Food                                                                                                                                550
5.Clothing                                                                                                                            150
6.Laundry and dry cleaning                                                                                                            100
7.Medical and dental expenses                                                                                                         100
8.Transportation                                                                                                                      350
9.Recreation, clubs, and entertainment, newspapers, magazines                                                                         150
10.Charitable contributions                                                                                                            50

11.Insurance: a. Homeowner’s or renter’s
              b. Life
              c. Health
              d. Auto                                                                                                                  45

              e. Other_______________________________
12.Taxes: Property taxes not included in mortgage
      Self-employment income taxes

13. Installment payments:                a. Auto
                                         b. Other_____________________________
                                         c. Other ____________________________

14.Alimony, maintenance, or support paid to others
15.Payments for support of additional dependants not living at your home
16.Regular expenses from operation of business, profession or farm
17.Other

18.AVERAGE MONTHLY EXPENSES (Total lines 1-17)                                                                                       $2,600

19.Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following
the filing of this document: NO SUCH INCREASES OR DECEASES ANTICIPATED
20. STATEMENT OF MONTHLY NET INCOME:
     a. Average monthly income from Line 15 Schedule I           $2,666__
     b. Average monthly expenses from Line 18 above              $2,600__
     c. Monthly net income (a. minus b.)                         $___66_
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Conforms to Official Form 6 DeclarationDocument
                                        (12/07) Page 18 of 30
In Re: Michael W. DeLong

                             DECLARATION CONCERNING SCHEDULES



I, Michael W. DeLong, named as the debtor(s) in this case, declare under penalty that I/we have read the
foregoing Summary and Schedules, and that it is true and correct to the best of my/our information and belief.

X/s/Michael W. DeLong__________________________           Date: ____7/8/09____________________________

X_____________________________________________ Date: _____________________________________
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Conforms to Official Forms 6 Summary Document       Page 19 of 30
                                     of Schedules (12/07)
In Re: Michael W. DeLong

                             UNITED STATES BANKRUPTCY COURT FOR THE
                                 NORTHERN DISTRICT OF NEW YORK

                                     SUMMARY OF SCHEDULES

Schedule name          Attached No. Sheets          Assets                     Liabilities                Other
                        YES/NO
A. Real Property        X                           $                         $                          $

B. Personal Property    X                               3,116.23

C. Property Claimed     X
  as Exempt                                         ----------------------------------------------------------

D. Creditors Holding    X
   Secured Claims

E. Creditors Holding X
   Unsecured Priority
   Claims                                                                         --------

F. Creditors Holding   X                                                          32,020

   Unsecured Non-
   Priority Claims

G. Executory Contracts X
   and Unexpired Leases        }
                               }                    ----------------------------------------------------------
H. Co-Debtors            X     }

I. Current Income of X                                                                                            2,666
   Individual Debtor

J. Current Expenditures of X                                                                                      2,600
  Individual Debtor

Summary Sheet
Total No. Sheets

                       TOTAL ASSETS      3,116.23

                                    TOTAL LIABILITIES 32,020

                                                    EXCESS INCOME (if any) 66
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Conforms to Official Form 6 – StatisticalDocument     Page 20 of 30
                                          Summary (12/07)
In Re: Michael W. DeLong
                            UNITED STATES BANKRUPTCY COURT FOR THE
                                NORTHERN DISTRICT OF NEW YORK
                              STATISTICAL SUMMARY OF CERTAIN LIABILITIES
                                    (28 U.S.C. § 159) [Individual Debtors Only]

[ ] Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
information here.

Summarize the following types of liabilities, as reported in the Schedules, and total them.
Type of Liability                                                                             Amount

Domestic Support Obligations (from Schedule E)                                                $ -0-

Taxes and Certain Other Debts Owed to Governmental Units (from
Schedule E)                                                                                   $ -0-

Claims for Death or Personal Injury While Debtor Was
Intoxicated (from Schedule E)                                                                 $ -0-

Student Loan Obligations (from Schedule F)                                                    $ -0-

Domestic Support, Separation Agreement, and Divorce Decree
Obligations Not Reported on Schedule E                                                        $ -0-

Obligations to Pension or Profit-Sharing, and Other Similar
Obligations (from Schedule F)                                                                 $ -0-

                                                      TOTAL:      $ -0-
State the following:_________________________________________________

Average Income (from Schedule I, Line 16)                                                     $2,666

Average Expenses (from Schedule J, Line 18)                                                   $2,600

Current Monthly Income (from Form 22A Line 12; OR, Form                                       $3,517
22B Line 11; OR, Form 22C Line 20)

State the Following:_________________________________________________

1. Total from Schedule D, “UNSECURED PORTION, IF                                              $ -0-
ANY” column

2. Total from Schedule E, “AMOUNT ENTITLED TO                                                 $ -0-
PRIORITY, IF ANY” column

3. Total from Schedule E, “AMOUNT NOT ENTITLED TO                                             $ -0-
PRIORITY, IF ANY” column

4. Total from F                                                                               $32,020

5. Total of non-priority unsecured debt (sum of 1,3, and 4)               $32,020
The foregoing information is for statistical purposes only under 28 U.S.C. § 159.
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B 8 (Official Form 8) (12/08)

                                   UNITED STATES BANKRUPTCY COURT

In Re: Michael W. DeLong
Case No.

                     CHAPER 7 INDIVISUAL DEBTOR’S STATEMENT OF INTENTION

PART A – Debts secured by property of the estate (Part A must be fully completed for EACH debt which is
secured by property of the estate.)

Property No. 1

Creditor’s Name:                                Describe Property Securing Debt:


NONE


Property will be ____ Surrendered                       _____ Retained


If retaining the property, I intend to (check at least one):

____ Redeem the Property ____ Reaffrm the Debt          ____ Other: Explain


Property is: _____ Claimed as exempt            _____ Not claimed as exempt

Property No. 2 (if necessary)

Creditor’s Name:                                Describe Property Securing Debt:


NONE


Property will be ____ Surrendered                       _____ Retained


If retaining the property, I intend to (check at least one):

____ Redeem the Property ____ Reaffrm the Debt          ____ Other: Explain


Property is: _____ Claimed as exempt _____ Not claimed as exempt
__________________________________________________________________________
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PART B – Personal property subject to unexpired leases. (All three columns of Part B must be completed for
each unexpired lease.)



Property No. 1

Lessor’s Name:        Describe Leased Property:         Lease Will be Assumed pursuant
                                                        To 11 U.S.C § 365(p)(2):
NONE
                                                        ___Yes ____No

Property No. 2 (if necessary)

Lessor’s Name:        Describe Leased Property:         Lease Will be Assumed pursuant
                                                        To 11 U.S.C § 365(p)(2):

                                                        ___Yes ____No

Property No. 3 (if necessary)

Lessor’s Name:        Describe Leased Property:         Lease Will be Assumed pursuant
                                                        To 11 U.S.C § 365(p)(2):
NONE
                                                        ___Yes ____No

I declare under penalty of perjury that the above indicates my intention as to any property of my esatte
securing a debt and/or personal property subject to an unexpired lease.

Date: 7/8/09                               /s/Michael W. DeLong_______________________


Date:                                      /s/________________________________________
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                                UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF NEW YORK
Conforms to Official Form 7 Statement of Financial Affairs (12/07)
In Re: Michael W. DeLong
                                STATEMENT OF FINANCIAL AFFAIRS

1. Income from employment or operation of business.

  State the gross amount of income the debtor has received from employment, trade, or profession, or from
  operation of debtor’s business from the beginning of this calendar year to the date this case was commenced.
  State also the gross amounts received during the two years immediately preceding this calendar year.

   2009 to date: 21,106 through 7/1/09
   2008: 46,160
   2007: 28,560

2. Income other than from employment or operation of business.

  State the amount of income received by the debtor other than from employment, trade, profession, or
  operation of the debtor’s business during the two years immediately preceding the commencement of this
  case.
  NONE.

3. Payments to creditors.

  a. List all payments on loans, installment purchases of goods or services, and other debts, aggregating more
  than $600 to any creditor, made within 90 days immediately preceding the commencement of this case.
  NONE.

  b. List all payments made within one year immediately preceding the commencement of this case to or for
  the benefit of creditors who are or were insiders.
  NONE.

    c. List all payments made within one year immediately preceding the commencement of this case to or for
the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
separated joint petition is not filed.)
        NONE

4. Suits, executions, garnishments, and attachments.

  a. List all suits to which the debtor is or was a party within one year immediately preceding the filing of this
  bankruptcy case.
  NONE.

  b. Describe all property that has been attached, garnished or seized under any legal or equitable process
  within one year immediately preceding the commencement of this case.
  NONE.
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5. Repossessions, foreclosures and returns.      Page 24 of 30

   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed
   in lieu of foreclosure or returned to the seller, within one year immediately preceding the commencement of
   this case.
   NONE.

6. Assignments and receiverships.

   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately
   preceding the commencement of this case.
   NONE.

   b. List all property which has been in the hands of a receiver or court-appointed official within one year
   immediately preceding the commencement of this case.
   NONE.


7. Gifts.

  List all gifts or charitable contributions made within one year immediately preceding the commencement of
  this case except ordinary and usual gifts to family members aggregating less than $200 in value per
  individual family member and charitable contributions aggregating less than $100 per recipient.
  NONE.

8. Losses.

   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the
   commencement of this case or since the commencement of this case.
   NONE.

9. Payments related to debt counseling or bankruptcy.

   List all payments made or property transferred by or on behalf of the debtor to any persons, including
   attorneys, for consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a
   petition in bankruptcy within one year immediately preceding the commencement of this case.

   David F. DeVall, Esq.                              Date: 5/09
   59 Franklin Street                                 Amount: 1,000
   Saratoga Springs, NY 12866

10. Other transfers.

   List all other property, other than property transferred in the ordinary course of the business or financial
   affairs of the debtor transferred either absolutely or as security within one year immediately preceding the
   commencement of this case.
   NONE.
       Case 09-12537-1-rel Doc 1 Filed 07/08/09 Entered 07/08/09 15:58:25                      Desc Main
11. Closed financial accounts.  Document      Page 25 of 30

   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor
   which were closed, sold, or otherwise transferred within one year immediately preceding the commencement
   of this case.
   NONE.

12. Safe deposit boxes.

   List each safe deposit box or other box or depository in which the debtor has or had securities, cash, or other
   valuables within one year immediately preceding the commencement of this case.
   NONE.

13. Setoffs.

   List all setoffs made by any creditor, including a bank, against a debt or other deposit of the debtor within 90
   days preceding the commencement of this case.
   NONE.

14. Property held for another person.

   List all property owned by another person that the debtor holds or controls.
   NONE.

15. Prior address of debtor.

   If the debtor has moved within the three years immediately preceding the commencement of this case, list
   all premises which the debtor occupied during that period and vacated prior to the commencement of this
   case.
   NONE.

16. Spouses and Former and Spouses.

       If the debtor resides or resided in a community property state, commonwealth, or territory (including
Alaska, Arizona, California, Idaho, Louisiana, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin)
within eight years immediately preceding the commencement of the case, identify the name of the debtor’s
spouse and of any former spouse who resides or resided with the debtor in the community property state.
       NONE

17. Environmental Information

    a. List the name and address of every site for which the debtor h as received notice in writing by a
       governmental unit that it might be liable or potentially liable under or in violation of an Environmental
       Law. Indicate the governmental unit, the date of the notice, and , if known, the Environmental Law.
       NONE

    b. List the name and address of every site for which the debtor provided notice to a governmental unit of a
       release of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date
       of the notice.
       NONE
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    c. List all judicial or administrativeDocument       Page 26settlements
                                          proceedings, including  of 30      or orders, under any Environmental
       Law with respect to which the debtor is or was a party. Indicate the name and address of the
       governmental unit that is or was a party to the proceeding, and the docket number.
       NONE.

18. Nature, location and name of business

    a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of
       businesses, and beginning and ending dates of all businesses in which the debtor was an officer,
       director, partner, or managing executive of a corporation, partner in a partnership, sole proprietor, or
       was self-employed in a trade, profession, or other activity either full-or part-time within six years
       immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more
       of the voting or equity securities within six years immediately preceding the commencement of this
       case.
    NONE

    b. Identify any business listed in response to subdivision a., above, that is “single asset real estate” as
       defined in 11 U.S.C. § 101.
    NONE.

19. Books, records and financial statements

    a. List all bookkeepers and accountants who within two years immediately preceding the filing of this
       bankruptcy case kept or supervised the keeping of books of account and records of the debtor.
       NONE

    b. List all firms or individual who within tow years immediately preceding the filing of this bankruptcy
       case have audited the books of account and records, or prepared a financial statement of the debtor.
       NONE

    c. List all of the firms or individual who at the time of the commencement of this case were in possession
       of the books of account and records of the debtor. If any of the books of account and records are no
       available, explain.
       NONE

    d. List all financial institutions creditors and other parties, including mercantile and trade agencies, to
       whom a financial statement was issued by the debtor within two years immediately preceding the
       commencement of this case.
       NONE

20. Inventories

    a. List the dates of the last two inventories taken of your property, the name of the person who supervised
       the taking of each inventory, and the dollar amount and basis of each inventory.
       NONE

    b. List the name and address of the person having possession of the records of each of the inventories
       reported above in a., above.
       NONE

21. Current Partners, Officers, Directors and Shareholders
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                                         Document
    a. If the debtor is a partnership, list the nature andPage 27 of 30
                                                           percentage of partnership interest of each member of
       the partnership.
       NONE

    b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who
       directly or indirectly owns, controls, or holds 5 percent or more of the voting or equity securities of the
       corporation.
       NONE

22. Former partners, officers, directors and shareholders

    a. If the debtor is a partnership, list each member who withdrew from the partnership within one year
       immediately preceding the commencement of this case.
       NONE

    b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation
       terminated within one year immediately preceding the commencement of this case.
       NONE

23. Withdrawals from a partnership or distributions by a corporation. If the debtor is partnership or
    corporation, list all withdrawals or distributions credited or given to an insider, including the compensation
    in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year
    immediately preceding the commencement of this case.
    NONE

24. Tax Consolidation Group. If the debtor corporation , list the name and federal taxpayer-identification
    number of the parent corporation of any consolidated group for tax purposes of which the debtor has been a
    member at any time within six years immediately preceding the commencement of this case.
    NONE

25. Pension Funds. If the debtor is not an individual, list the name and federal taxpayer-identification number
of any pension fund to which the debtor, as an employer, has been responsible for contributing at any time
within six years immediately preceding the commencement of this case.



                                                DECLARATION

I, Michael W. DeLong, named as the debtor(s) in this case, declare under penalty of perjury that I/we have read
the foregoing Statement of Financial Affairs, and that it is true and correct to the best of my/our information and
belief.

X_/s/Michael W. DeLong________________________               Date: _7/8/09______________________________

X___________________________________________                 Date: _____________________________________
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Conforms to Official Form B 203 (4/08)Document Page 28 of 30

UNITED STATES BANKRUPTCY COURT FOR THE NORTHERN DISTRICT OF NEW YORK




In Re: Michael W. DeLong
Chapter ____ Case No.______________
                                                                                                   Debtor(s).


                   DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1. Pursuant to 11 U.S.C. §329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-
   named debtor(s) and that compensation paid to me within one year before the filing of the filing of the
   petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the
   debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

     For legal services, I have agreed to accept                     $1,000

     Prior to the filing of this statement I have received           $1,000

     Balance Due                                                     $ -0-

2.     Said fee is to be a “Flat Fee” within the contemplation of this Court’s Administrative Order 08-01 dated
February 21, 2008.

3.      The source of compensation paid to me was:

     __X__ Debtor               ____Other (specify)


2.      The source of compensation to be paid to me is:

     __X__ Debtor               _____ Other (specify)

3.      __X__ I have not agreed to share the above-disclosed compensation with any other person unless they
        are members and associates of my law firm.

     _____ I have agreed to share the above-disclosed compensation with another person or persons who are not
     members or associates of my law firm. A copy of the agreement, together with a list of the names of the
     people sharing in the compensation, is attached.

4.      In return for the above-disclosed fee, I have agreed to render legal services for all aspects of the
        bankruptcy case, including:

     a. Analysis of debtor’s financial situation, and rendering advice to the debtor in determining whether to file
        a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned
        hearing thereof;
        Case 09-12537-1-rel       Doc 1    Filed 07/08/09 Entered 07/08/09 15:58:25          Desc Main
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     d. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

     e. All other services, including extraordinary services for which additional compensation may be awarded,
        all as set forth in the Rights and Responsibilities of Chapter 13 Debtors and their Attorneys, as adopted
        by this Court’s Administrative Order 08-01 dated February 21, 2008.



5.      By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                              CERTIFICATION

I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
representation of the debtor(s) in this bankruptcy proceeding.


__7/8/09_______________ /s/David F. DeVall_______________________
Date                    Signature of Attorney

                               DeVall and DeVall_______________________
                               Name of law firm
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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF NEW YORK
________________________________________

In Re:
                                                    CERTIFICATION OF
         MICHAEL W. DELONG                          MAILING MATRIX



                              Debtor(s).
________________________________________

I, David F. DeVall, Esq., the attorney for the debtor(s), hereby certify under the penalties of perjury that the
attached mailing matrix contains all creditors and parties in interest with correct names, addresses and zip
codes, as they appear on the schedules of liabilities, list of creditors, list of equity security holders (or any
amendment thereto).

Dated: _____7/8/09_____________

                                                    /s/David F. DeVall_____________________________
                                                    DAVID F. DeVALL, ESQ.
                                                    Attorney for Debtor(s)
                                                    59 Franklin Street
                                                    Saratoga Springs, NY 12866
                                                    (518) 584-8521
